                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE



 JANE DOES 1-6, JOHN DOES-1-3,
 JACK DOES 1-1000, and
 JOAN DOES 1-1000,

                Plaintiffs,

        v.
                                                        Civil Action 1:21-cv-00242-JDL
 JANET T. MILLS, Governor of the State of
 Maine, JEANNE M. LAMBREW,
 Commissioner of the Maine Department of
 Health and Human Services, NIRAV D.
 SHAH, Director of the Maine Center for
 Disease Control, MAINEHEALTH,
 GENESIS HEALTHCARE OF MAINE,
 LLC, GENESIS HEALTHCARE, LLC,
 NORTHERN LIGHT FOUNDATION, and
 MAINEGENERAL HEALTH

                Defendants.


                      NEWS MEDIA MOTION TO INTERVENE AND
                       INCORPORATED MEMORANDUM OF LAW

       Pursuant to Fed. R. Civ. P. 24(a) and (b), MTM Acquisition, Inc., d/b/a Portland Press

Herald/Maine Sunday Telegram, Kennebec Journal, and Morning Sentinel, and SJ Acquisition,

Inc., d/b/a Sun Journal (collectively, the “Media Intervenors”) hereby move for leave to

intervene in the above-captioned case for the limited purpose of challenging Plaintiffs’ ongoing

use of pseudonyms in this matter. The Media Intervenors further request that the Court hold a

conference to establish a schedule for submissions on the merits of their challenge to the use of

pseudonyms. Defendants take no position with respect to this motion. Plaintiffs object to the

motion. This motion is made on the grounds that:



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       1.      In its Order on Plaintiffs’ Motion to Proceed Under Pseudonyms and for

Protective Order, this Court granted Plaintiffs’ request to proceed using pseudonyms, but

“reserve[d] the authority to revisit this issue should the case proceed past the preliminary-

injunction stage.” Does 1-6 v. Mills, No. 1:21-CV-00242-JDL, 2021 WL 4005985, at *2 (D. Me.

Sept. 2, 2021) (hereinafter, “Order”).

       2.      On October 13, 2021, this Court denied Plaintiffs’ request for a preliminary

injunction. Does 1-6 v. Mills, No. 1:21-CV-00242-JDL, 2021 WL 4783626 (D. Me. Oct. 13,

2021). The U.S. Court of Appeals for the First Circuit affirmed this Court’s decision on October

19, 2021. Does 1-6 v. Mills, No. 21-1826, 2021 WL 4860328 (1st Cir. Oct. 19, 2021). On

October 29, 2021, the U.S. Supreme Court denied Plaintiffs’ application for injunctive relief.

Does 1-3 v. Mills, No. 21A90, 2021 WL 5027177 (U.S. Oct. 29, 2021). The preliminary

injunction stage of this litigation has therefore concluded.

       3.      The Media Intervenors have a presumptive First Amendment and common law

right of access to court proceedings and judicial records in this matter. See Press-Enter. Co. v.

Superior Court, 478 U.S. 1, 8 (1986) (holding that the First Amendment right of access attaches

to judicial proceedings and documents where “the place and process have historically been open

to the press and general public,” and where “public access plays a significant positive role in the

functioning of the particular process in question”); In re Salem Suede, Inc., 268 F.3d 42, 45 (1st

Cir. 2001) (“[T]here is a strong common law presumption favoring public access to judicial

proceedings and records.”). In a case of first impression in the First Circuit, Judge Torresen

recently recognized “a qualified First Amendment right of public access to civil complaints.”

Courthouse News Serv. v. Glessner, No. 1:21-CV-00040-NT, 2021 WL 3024286, at *15 (D. Me.

July 16, 2021), appeal pending, No. 21-1624 and 21-1642. In doing so, she acknowledged that



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“many circuits that have concluded that the constitutional right of access applies to civil

proceedings.” Id. at *11; see e.g., N.Y.C.L. Union v. N.Y.C. Transit Auth., 684 F.3d 286, 298 (2d

Cir. 2012) (“[T]he First Amendment guarantees a qualified right of access not only to criminal

but also to civil trials and to their related proceedings and records.”); Republic of Phil. v.

Westinghouse Elec. Corp., 949 F.2d 653, 659 (3d Cir. 1991) (“[T]he First Amendment . . .

protects the public’s right of access to the records of civil proceedings.”).

       4.      Allowing civil litigants to proceed under pseudonyms withholds valuable

information from the press and the public about pending litigation and functions as a form of

closure of court proceedings and records. In addition, if Plaintiffs are permitted to continue to

pursue their claims in this matter pseudonymously, this Court will necessarily be asked to take

further steps to preserve their anonymity—such as closing the courtroom during a Plaintiff’s

testimony—that would further deprive the Media Intervenors of their presumptive rights of

access to court proceedings and records in this case.

       5.      Intervention is the appropriate procedural mechanism in a civil case for a third

party, including members of the press or public, to assert rights of access to judicial records, to

challenge protective orders, and to contest the closure of judicial proceedings. See Public Citizen

v. Liggett Group, Inc., 858 F.2d 775, 783 (1st Cir. 1988) (“[W]here intervention is available (i.e.

civil cases), it is an effective mechanism for third-party claims of access to information

generated through judicial proceedings.”). Intervention is “the procedurally correct course” for

third-party challenges to protective orders. Id. (quotation marks omitted).

       6.      MTM Acquisition, Inc. is a corporation organized and existing under the laws of

the State of Maine and has its principal place of business in Portland. It is the publisher of the

Portland Press Herald, the Maine Sunday Telegram, the Kennebec Journal, and the Morning



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Sentinel newspapers. SJ Acquisition, Inc. is a corporation organized and existing under the laws

of the State of Maine and has its principal place of business in Lewiston. It is the publisher of

the Sun Journal newspaper. As newspaper publishers in Maine, Media Intervenors have a

compelling interest in public access to information on pending judicial proceedings about the

constitutionality of a state public health order, the outcome of which will impact people

throughout Maine.

       7.      This motion is timely. The preliminary injunction stage of the litigation has now

concluded. By its Order, the Court reserved the right to revisit the question of whether Plaintiffs

should be permitted to continue to proceed pseudonymously should this case proceed beyond the

preliminary injunction stage. A scheduling order for the declaratory judgment stage of the

litigation has not yet been issued, and the parties have made no filings in connection with the

declaratory judgment stage.

                                            Conclusion

       The Media Intervenors therefore respectfully request that this Court permit them to

intervene in this matter for the limited purpose of challenging Plaintiffs’ ongoing use of

pseudonyms. The Media Intervenors further request that this Court convene a scheduling

conference to establish merits briefing deadlines on their request and permit their counsel them

to participate in any upcoming scheduling conference in this matter. If the Court does not

conduct a scheduling conference, the Media Intervenors request that the Court establish a

schedule permitting the Media Intervenors to submit briefing on the issue of Plaintiffs’ continued

use of pseudonyms once this motion has been granted.




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DATED at Portland, Maine this 10th day of November, 2021



                                               Respectfully submitted,

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                                               *Pro hac vice application pending




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